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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA,
                                                                      24-cr-542 (AS)
          v.

 SEAN COMBS,

                          Defendant.



                         DECLARATION OF ALEXANDRA A.E. SHAPIRO

         I, Alexandra A.E. Shapiro, declare as follows:

         1.     I am a partner at Shapiro Arato Bach LLP, counsel for Sean Combs. I am licensed

and in good standing to practice law in the State of New York and I am admitted to the United

States District Court for the Southern District of New York.

         2.     This declaration is based on my personal knowledge of the facts stated herein, and

is submitted in support of Mr. Combs’s Motion to Preclude the Testimony of Dr. Dawn Hughes.

         3.     Attached hereto as Exhibit 1 is the government’s disclosure as to expert witness

Dr. Dawn Hughes.

         4.     Attached hereto as Exhibit 2 is Mr. Combs’s disclosure as to expert witness

Dr. Alexander Sasha Bardey.

         5.     Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

is true and correct.

Dated:          April 2, 2025
                New York, NY
                                                     /s/ Alexandra A.E. Shapiro
                                                     Alexandra A.E. Shapiro, Esq.
